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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                           §    Chapter 11
                                                 §
ALEXANDER E. JONES                               §    Case No. 22-33553
                                                 §
         Debtor.                                 §
                                                 §

                 ORDER GRANTING MOTION FOR ENTRY OF AN
               ORDER ESTABLISHING PROCEDURES FOR INTERIM
             COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                 CHAPTER 11 PROFESSIONALS [DOCKET NO. 74]

         Upon consideration of the Motion for Entry of an Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses for Chapter 11 Professionals (the

“Motion”) filed by Debtor Alexander E. Jones, (“Debtor”) [Dkt. No. 74], made pursuant to

Sections 105(a) and 331 of the United States Bankruptcy Code and 11 U.S.C. §§ 101 et. seq. (the

“Bankruptcy Code”) in the above-referenced bankruptcy case, the Court finds that it has

jurisdiction to grant the relief requested in the Motion pursuant to 28 U.S.C. §§ 1334(b) and 157;

that due notice of the Motion has been provided as set forth in the Motion and no other or further

notice need be provided; and further that the relief requested in the Motion is in the best interest

of the Debtor and its creditors.

         IT IS THEREFORE ORDERED that the Motion filed by the Debtor on December 21,

2022 is hereby GRANTED; it is further ordered that

         Except as otherwise provided in an order of the Court authorizing the retention of a

particular professional, the professionals specifically retained pursuant to an order of the Court in

the Chapter 11 Case (collectively, the “Retained Professionals”) may seek interim payment of




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compensation and reimbursement of expenses in accordance with the following procedures

(collectively, the “Compensation Procedures”):

                  (a)    Each Retained Professional seeking monthly compensation must file
                         with the Court and submit a monthly fee statement (a “Monthly Fee
                         Statement”), which submission may be via hand delivery, overnight
                         courier, first class mail or e-mail, so as to be received no later than 30
                         days after the end of the month for which the fees are sought, to the
                         following parties (collectively, the “Notice Parties”):
                           (a) Proposed Co-Counsel to Debtor, Crowe & Dunlevy, PC, 2525
                               McKinnon St, Ste. 425, Dallas, TX 75201 (Attn: Vickie L.
                               Driver, dallaseservice@crowedunlevy.com);
                           (b) Proposed Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North
                               Shoreline Blvd., Suite 900, Corpus Christi, TX 78401 (Attn:
                               Shelby Jordan, sjordan@jhwclaw.com);
                           (c) U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                               United States Trustee 515 Rusk St,Ste 3516 Houston, TX 77002,
                               ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov;
                           (d) Proposed Counsel to the Official Committee of Unsecured
                               Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant
                               Park, New York, NY 10036 (Attn: David M. Zensky, Marty L.
                               Brimmage, Jr., Sara L. Brauner and Melanie A. Miller;
                               dzensky@akingump.com,          mbrimmage@akingump.com,
                               sbrauner@akingump.com, melanie.miller@akingump.com);
                           (e) Counsel to the Connecticut Plaintiffs, (a) Koskoff Koskoff &
                               Bieder PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn:
                               Alinor Sterling, ASterling@koskoff.com) and (b) Paul, Weiss,
                               Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas,
                               New York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                               kkimpler@paulweiss.com, msalvucci@paulweiss.com);
                           (f) Counsel to the Texas Plaintiffs, (a) McDowell Hetherington LLP,
                               1001 Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                               Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                               Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                               1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                               Jarrod.Martin@chamberlainlaw.com); and
                           (g) Any other parties that the Court may designate.
                  (b)    Unless otherwise provided in the order authorizing the Retained
                         Professional’s retention, each Retained Professional’s Monthly Fee
                         Statement, in accordance with Local Bankruptcy Rule 2016-1, shall
                         include (i) a monthly invoice with fee and expense detail that describes
                         the fees and expenses incurred by such Retained Professional, and (ii)


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                   any additional information required by the Local Bankruptcy Rules,
                   the Bankruptcy Rules, the Court, or applicable law.
             (c)   Time spent traveling without actively working on the Chapter 11 Case
                   shall be billed at 50% of the professional’s normal hourly rate.
             (d)   Any Retained Professional who fails to submit a Monthly Fee
                   Statement for a particular month or months may subsequently submit
                   a consolidated Monthly Fee Statement for multiple months provided
                   that separate fee and expense information for each applicable month is
                   provided in the consolidated statement.
             (e)   All Monthly Fee Statements shall comply with the Bankruptcy Code,
                   the Bankruptcy Rules, the Local Bankruptcy Rules, and applicable
                   law.
             (f)   Each Notice Party, and any other party in interest, will have 14 days
                   after service of a Monthly Fee Statement to object to such statement
                   (the “Objection Deadline”). Upon the expiration of the Objection
                   Deadline, the Debtor will be authorized to pay each Retained
                   Professional an amount (the “Authorized Payment”) equal to the lesser
                   of (i) 80% of the fees and 100% of the expenses requested in the
                   Monthly Fee Statement (the “Maximum Payment”) and (ii) the
                   aggregate amount of fees and expenses not subject to an unresolved
                   objection pursuant to paragraph 9(g) of the Motion.
             (g)   If any Notice Party, or any other party in interest, objects to a Retained
                   Professional’s Monthly Fee Statement, it must serve on the affected
                   Retained Professional and each of the other Notice Parties a written
                   objection (the “Objection”) so that it is received on or before the
                   Objection Deadline. Thereafter, the objecting party and the affected
                   Retained Professional may attempt to resolve the Objection on a
                   consensual basis. If the parties are unable to reach a resolution of the
                   Objection within 14 days after service of the Objection, or such later
                   date as may be agreed upon by the objecting party and the affected
                   Retained Professional, the affected Retained Professional may either: (i)
                   file a response to the Objection with the Court, together with a request
                   for payment of the difference, if any, between the Maximum Payment
                   and the Authorized Payment made to the affected Retained Professional
                   (the “Incremental Amount”) and schedule such matter for hearing on at
                   least 14 days’ notice; or (ii) forego payment of the Incremental Amount
                   until the next interim or final fee application hearing, at which time the
                   Court will consider and dispose of the Objection if requested by the
                   affected Retained Professional. Failure by a Notice Party, or any other
                   party in interest, to object to a Monthly Fee Statement shall not
                   constitute a waiver of any kind nor prejudice that party’s right to object
                   to any Interim Fee Application (as defined below) subsequently filed by
                   a Retained Professional.




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             (h)   Following the Objection Deadline, each Retained Professional that has
                   not already submitted an electronic bill to the Debtor shall email to
                   dallaseservice@crowedunlevy.com an invoice reflecting amounts then
                   payable pursuant to paragraph 9(f) of the Motion.
             (i)   Each Retained Professional may submit its first Monthly Fee Statement
                   on or before January 16, 2023 and such Monthly Fee Statement shall be
                   for the period from the Petition Date, through and including December
                   31, 2022.
             (j)   Upon the four-month period ending May 15, 2023, (each, an “Interim
                   Fee Period”), each of the Retained Professionals will file with the Court
                   and serve on the Notice Parties an application pursuant to sections 330
                   and 331 of the Bankruptcy Code (an “Interim Fee Application”) for
                   interim Court approval and allowance of the compensation and
                   reimbursement of expenses sought by the Retained Professional in its
                   Monthly Fee Statements for the applicable Interim Fee Period,
                   including: (i) any revisions to the fee detail previously submitted with a
                   Monthly Fee Statement; (ii) any consensual resolution of an Objection
                   to one or more Monthly Fee Statements; and (iii) any difference between
                   any amounts owed to the Retained Professional and the Authorized
                   Payments made with respect to the Interim Fee Period. Retained
                   Professionals also will file a notice of opportunity for hearing in
                   accordance with Local Bankruptcy Rule 9013-1(d), which shall be
                   served on the Notice Parties and all parties that have filed a notice of
                   appearance with the Clerk of this Court and requested such notice. To
                   the extent practicable, all Interim Fee Applications will be noticed
                   together to be heard on the same hearing date and with the same
                   objection deadline.
             (k)   Interim Fee Applications by those Retained Professionals seeking
                   compensation on an interim basis must be filed on or before the 40th
                   day after the end of the Interim Fee Period for which the application
                   seeks allowance of fees and reimbursement of expenses. An Interim Fee
                   Application must include a basic summary of the Monthly Fee
                   Statements that are the subject of the request and any other information
                   requested by the Court or required by the Bankruptcy Rules and the
                   Local Bankruptcy Rules. A Retained Professional filing an Interim Fee
                   Application shall comply with the applicable provisions of the
                   Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules,
                   and applicable law.
             (l)   The first Interim Fee Application must be filed on or before May 29,
                   2023 for the Interim Fee Period from the Petition Date through May 15,
                   2023. Any objections to an Interim Fee Application (an “Additional
                   Objection”) shall be filed with the Court and served upon the affected
                   Retained Professional and the Notice Parties so as to be received on or
                   before the 21st day (or the next business day if such day is not a business
                   day) following the filing and service of the Interim Fee Application,


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                        which service may be via e-mail, hand delivery, overnight courier or
                        first class mail. If no Objections are pending and no Additional
                        Objections are timely filed, the Court may grant an Interim Fee
                        Application without a hearing. Upon allowance by the Court of a
                        Retained Professional’s Interim Fee Application, the Debtor shall be
                        authorized to promptly pay such Retained Professional all requested
                        fees and expenses not previously paid (including any Incremental
                        Amount).
                 (m)    Upon allowance by the Court of a Retained Professional’s Interim Fee
                        Application, with or without a hearing, Retained Professionals shall
                        email to dallaseservice@crowedunlevy.com an invoice reflecting all
                        allowed, requested fees and expenses not previously paid (including any
                        Incremental Amount). For the avoidance of doubt, Retained
                        Professional shall not be required to include in such invoices fee and
                        expense detail or other information already submitted to the Notice
                        Parties in connection with Monthly Fee Statements or otherwise.
                 (n)    The pendency of an Objection or Additional Objection or the entry of a
                        Court order holding that the prior payment of compensation or the
                        reimbursement of expenses was improper as to a particular Monthly Fee
                        Statement will not disqualify a Retained Professional from the future
                        payment of compensation or reimbursement of expenses as set forth
                        above, unless the Court orders otherwise.
                 (o)    There will be no penalties for failing to file a Monthly Fee Statement or
                        an Interim Fee Application in a timely manner; provided, however, that
                        if any Interim Fee Application covers more than a four-month period,
                        the Notice Parties shall have an additional 14 days beyond the period
                        set forth in paragraph 9(l) of the Motion to file an Additional Objection.
                 (p)    Neither (i) the payment of or the failure to pay, in whole or in part,
                        interim compensation and reimbursement of expenses under the
                        Compensation Procedures nor (ii) the filing of, or failure to file, an
                        Objection to any Monthly Fee Statement or an Additional Objection to
                        any Interim Fee Application will bind any party in interest or the Court
                        with respect to the final applications for allowance of compensation and
                        reimbursement of expenses of Retained Professionals.
                 (q)    Any Notice Party may request that a Retained Professional deliver a
                        Monthly Fee Statement or an Interim Fee Application in an
                        electronically searchable format mutually acceptable to the parties; it is
                        further
       ORDERED Debtor shall serve notice of any hearing to consider any objection and/or

request for payment of a disputed amount upon (a) the United States Trustee for the Southern

District of Texas; (b) counsel for the Official Unsecured Creditors’ Committee; (c) Debtor’s



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counsel; and (d) all parties requesting notice pursuant to Federal Rule of Bankruptcy Procedure

2002. Debtor shall serve notice of any hearing to consider interim and final fee applications upon

all parties entitled to notice pursuant to the Bankruptcy Code, Federal Rules of Bankruptcy

Procedure, and/or applicable Local Rules.


       Dated: ___________, 2023              _______________________________________
                                             UNITED STATES BANKRUPTCY JUDGE




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